    Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 1 of 86 Page ID
                                     #:18721


        CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
1       Peter A. Schey (Cal. Bar No. 58232)
        Carlos Holguín (Cal. Bar No. 90754)
2       256 South Occidental Boulevard
        Los Angeles, CA 90057
3
        Telephone: (213) 388-8693
4       Facsimile: (213) 386-9484
        Email: crholguin@centerforhumanrights.org
5                pschey@centerforhumanrights.org

6       ORRICK, HERRINGTON & SUTCLIFFE LLP
7       Elena Garcia (Cal. Bar No. 299680)
8       777 South Figueroa Street, Suite 3200
        Los Angeles, CA 90017
9       Telephone: (213) 629-2020
        Email: egarcia@orrick.com
10

11      Attorneys for plaintiffs (listing continues on following page)
12
                                    UNITED STATES DISTRICT COURT
13                         CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
        JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx) 
15                                                        )
                 Plaintiffs,                              )
16      - vs -                                            )   EXHIBITS IN SUPPORT OF
17                                                        )   PLAINTIFFS’ RESPONSE TO
        JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
18      OF THE UNITED STATES, et al.,                     )
                                                              DEFENDANTS’ FIRST JUVENILE
                                                          )   COORDINATOR REPORTS
19               Defendants.                              )   VOLUME 5 OF 12 [REDACTED
20
                                                          )   VERSION OF DOCUMENT
                                                              PROPOSED TO BE FILED UNDER
21                                                            SEAL]
22
                                                              [HON. DOLLY M. GEE]
23
                                                              Hearing: July 27, 2018
24                                                            Time: 10 AM

25

26
27

28
    Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 2 of 86 Page ID
                                     #:18722

1       Plaintiffs’ counsel, continued

2       LA RAZA CENTRO LEGAL, INC.
        Michael S. Sorgen (Cal. Bar No. 43107)
3       474 Valencia Street, #295
        San Francisco, CA 94103
4
        Telephone: (415) 575-3500
5
        THE LAW FOUNDATION OF SILICON VALLEY
6       LEGAL ADVOCATES FOR CHILDREN AND YOUTH
        PUBLIC INTEREST LAW FIRM
7       Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
        Katherine H. Manning (Cal. Bar No. 229233)
8
        Annette Kirkham (Cal. Bar No. 217958)
9       152 North Third Street, 3rd floor
        San Jose, CA 95112
10      Telephone:     (408) 280-2437
        Facsimile:     (408) 288-8850
11      Email: jenniferk@lawfoundation.org
                kate.manning@lawfoundation.org
12
               annettek@lawfoundation.org
13
        Of counsel:
14
        YOUTH LAW CENTER
15      Virginia Corrigan (Cal. Bar No. 292035)
16      832 Folsom Street, Suite 700 
        San Francisco, CA 94104
17      Telephone: (415) 543-3379

18
        ///
19

20
21

22

23

24

25

26

27
28
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 3 of 86 Page ID
                                 #:18723
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 4 of 86 Page ID
                                 #:18724
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 5 of 86 Page ID
                                 #:18725
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 6 of 86 Page ID
                                 #:18726
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 7 of 86 Page ID
                                 #:18727
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 8 of 86 Page ID
                                 #:18728
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 9 of 86 Page ID
                                 #:18729
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 10 of 86 Page ID
                                 #:18730
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 11 of 86 Page ID
                                 #:18731




                          Exhibit 51
                                                                         397
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 12 of 86 Page ID
                                 #:18732




                                                                         398
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 13 of 86 Page ID
                                 #:18733




                                                                         399
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 14 of 86 Page ID
                                 #:18734




                                                                         400
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 15 of 86 Page ID
                                 #:18735




                          Exhibit 52
                                                                         401
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 16 of 86 Page ID
                                 #:18736




                                                                         402
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 17 of 86 Page ID
                                 #:18737




                                                                         403
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 18 of 86 Page ID
                                 #:18738




                          Exhibit 53
                                                                         404
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 19 of 86 Page ID
                                 #:18739




                                                                         405
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 20 of 86 Page ID
                                 #:18740




                                                                         406
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 21 of 86 Page ID
                                 #:18741




                                                                         407
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 22 of 86 Page ID
                                 #:18742




                          Exhibit 54
                                                                         408
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 23 of 86 Page ID
                                 #:18743




                                                                         409
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 24 of 86 Page ID
                                 #:18744




                                                                         410
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 25 of 86 Page ID
                                 #:18745




                                                                         411
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 26 of 86 Page ID
                                 #:18746




                                                                         412
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 27 of 86 Page ID
                                 #:18747




                          Exhibit 55
                                                                         413
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 28 of 86 Page ID
                                 #:18748




                                                                         414
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 29 of 86 Page ID
                                 #:18749




                                                                         415
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 30 of 86 Page ID
                                 #:18750




                                                                         416
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 31 of 86 Page ID
                                 #:18751




                                                                         417
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 32 of 86 Page ID
                                 #:18752




                                                                         418
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 33 of 86 Page ID
                                 #:18753




                          Exhibit 56
                                                                         419
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 34 of 86 Page ID
                                 #:18754




                                                                         420
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 35 of 86 Page ID
                                 #:18755




                                                                         421
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 36 of 86 Page ID
                                 #:18756




                                                                         422
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 37 of 86 Page ID
                                 #:18757




                                                                         423
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 38 of 86 Page ID
                                 #:18758




                                                                         424
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 39 of 86 Page ID
                                 #:18759




                                                                         425
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 40 of 86 Page ID
                                 #:18760




                          Exhibit 58
                                                                         426
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 41 of 86 Page ID
                                 #:18761




                                                                        427
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 42 of 86 Page ID
                                 #:18762




                                                                         428
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 43 of 86 Page ID
                                 #:18763




                                                                        429
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 44 of 86 Page ID
                                 #:18764




                          Exhibit 59
                                                                         430
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 45 of 86 Page ID
                                 #:18765




                                                                         431
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 46 of 86 Page ID
                                 #:18766




                                                                         432
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 47 of 86 Page ID
                                 #:18767




                                                                         433
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 48 of 86 Page ID
                                 #:18768




                          Exhibit 60
                                                                         434
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 49 of 86 Page ID
                                 #:18769




                                                                         435
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 50 of 86 Page ID
                                 #:18770




                                                                         436
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 51 of 86 Page ID
                                 #:18771




                          Exhibit 61
                                                                         437
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 52 of 86 Page ID
                                 #:18772




                                                                         438
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 53 of 86 Page ID
                                 #:18773




                                                                         439
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 54 of 86 Page ID
                                 #:18774




                                                                         440
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 55 of 86 Page ID
                                 #:18775




                                                                         441
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 56 of 86 Page ID
                                 #:18776




                                                                         442
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 57 of 86 Page ID
                                 #:18777




                                                                         443
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 58 of 86 Page ID
                                 #:18778




                          Exhibit 62
                                                                         444
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 59 of 86 Page ID
                                 #:18779




                                                                         445
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 60 of 86 Page ID
                                 #:18780




                                                                         446
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 61 of 86 Page ID
                                 #:18781




                          Exhibit 63
                                                                         447
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 62 of 86 Page ID
                                 #:18782




                                                                         448
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 63 of 86 Page ID
                                 #:18783




                                                                         449
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 64 of 86 Page ID
                                 #:18784




                                                                         450
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 65 of 86 Page ID
                                 #:18785




                          Exhibit 65
                                                                         451
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 66 of 86 Page ID
                                 #:18786




                                                                         452
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 67 of 86 Page ID
                                 #:18787




                                                                         453
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 68 of 86 Page ID
                                 #:18788




                                                                         454
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 69 of 86 Page ID
                                 #:18789




                          Exhibit 66
                                                                         455
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 70 of 86 Page ID
                                 #:18790




                                                                         456
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 71 of 86 Page ID
                                 #:18791




                                                                         457
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 72 of 86 Page ID
                                 #:18792




                                                                         458
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 73 of 86 Page ID
                                 #:18793




                                                                         459
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 74 of 86 Page ID
                                 #:18794




                          Exhibit 67
                                                                         460
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 75 of 86 Page ID
                                 #:18795




                                                                         461
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 76 of 86 Page ID
                                 #:18796




                                                                         462
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 77 of 86 Page ID
                                 #:18797




                          Exhibit 68
                                                                         463
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 78 of 86 Page ID
                                 #:18798




                                                                         464
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 79 of 86 Page ID
                                 #:18799




                                                                         465
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 80 of 86 Page ID
                                 #:18800




                          Exhibit 69
                                                                         466
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 81 of 86 Page ID
                                 #:18801




                                                                         467
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 82 of 86 Page ID
                                 #:18802




                                                                         468
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 83 of 86 Page ID
                                 #:18803




                          Exhibit 70
                                                                         469
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 84 of 86 Page ID
                                 #:18804




                                                                         470
Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 85 of 86 Page ID
                                 #:18805




                                                                         471
    Case 2:85-cv-04544-DMG-AGR Document 459-6 Filed 07/16/18 Page 86 of 86 Page ID
                                     #:18806

                                       CERTIFICATE OF SERVICE
1
              I, Peter Schey, declare and say as follows:
2

3             I am over the age of eighteen years of age and am a party to this action. I am
4
        employed in the County of Los Angeles, State of California. My business address is
5
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
6

7             On July 16, 2018, I electronically filed the following document(s):
8
           • EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO DEFENDANTS’
9              THIRD JUVENILE COORDINATOR REPORTS VOLUME 5 OF 12
10             [REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED
               UNDER SEAL]
11      with the United States District Court, Central District of California by using the
12
        CM/ECF system.
13

14            On July 16, 2018, I also served true and correct copies of the above documents
15
        to the interested parties by sending copies to the email address of Defendants’ Counsel,
16
        Sarah Fabian.
17

18                                                  /s/Peter Schey
                                                    Attorney for Plaintiffs
19
20

21

22

23

24

25

26
27

28

                                                   1
